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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:18-CR-00153-LJO-SKO
12                                Plaintiff,            STIPULATION TO CONTINUE SENTENCING
                                                        HEARING; FINDINGS AND ORDER
13                          v.
                                                        DATE: January 14, 2019
14   JAVIER ALONSO BELTRAN,                             TIME: 8:30 a.m.
                                                        COURT: Hon. Lawrence J. O'Neill
15                               Defendant.
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          By previous order, this matter was set for sentencing on January 14, 2019. The parties now

21 stipulate to continue the sentencing hearing until February 25, 2019.

22          Defendant Javier Alonso Beltran pled guilty on October 9, 2018, to two counts of use, carrying,

23 or possessing a firearm during and in relation to a crime of violence, in violation of 18 U.S.C. § 924(c),

24 which carried a mandatory minimum of 32 years of imprisonment: a seven year sentence for the first

25 count and a mandatory twenty-five year sentence for the second count. (Dkt. 24, Plea Agreement.) As

26 part of the plea agreement, the parties agreed that at sentencing they would jointly recommend that
27 Beltran be sentenced to the mandatory minimum of 32 years in prison. (Id. at ¶ VI.B.)

28          On December 21, 2018, the First Step Act was signed into law. The First Step Act eliminates


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 1 “stacking” of Section 924(c) charges, so that the 25-year mandatory minimum sentence applies only if a

 2 defendant has previously been convicted of and sentenced for a Section 924(c) offense:

 3
                    SEC. 403. CLARIFICATION OF SECTION 924(c) OF TITLE 18,
 4                  UNITED STATES CODE.
 5                  (a) In General.—Section 924(c)(1)(C) of title 18, United States Code, is
                    amended, in the matter preceding clause (i), by striking “second or
 6                  subsequent conviction under this subsection” and inserting “violation of
                    this subsection that occurs after a prior conviction under this subsection
 7                  has become final”.
 8
            First Step Act, Pub. L. No. 115-391, § 403 (2018), available at
 9
     https://www.congress.gov/bill/115th-congress/senate-bill/756/text#toc-
10
     idd0e1582d312d4fb88da458f8ff5b3f39.
11
            This change applies to anyone sentenced after the enactment of the First Step Act, even if the
12
     defendant committed the conduct prior to the First Step Act. Id. at § 403(b). Therefore, under the
13
     provisions of the First Step Act, Beltran’s mandatory minimum sentence is no longer 32 years, as the
14
     parties contemplated in the plea agreement.
15
            The parties request additional time to discuss a further resolution in this matter and for counsel
16
     for Beltran to discuss this change in law with his client and any additional issues that will now arise
17
     given the new state of the law. The parties therefore request that the Court continue sentencing until
18
     February 19, 2019, at 8:30 a.m.
19
            For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within
20
     which trial must commence, the time period of January 14, 2019 to February 19, 2019, inclusive, is
21
     deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a continuance
22
     granted by the Court at defendant’s request on the basis of the Court’s finding that the ends of justice
23
     served by taking such action outweigh the best interest of the public and the defendant in a speedy trial.
24
            IT IS SO STIPULATED.
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      STIPULATION TO CONTINUE SENTENCING HEARING          2
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     Dated: January 10, 2019                               MCGREGOR W. SCOTT
 1                                                         United States Attorney
 2
                                                           /s/ ROSS PEARSON
 3                                                         ROSS PEARSON
                                                           Assistant United States Attorney
 4

 5
     Dated: January 10, 2019                               /s/ PETER M. JONES
 6                                                         PETER M. JONES
 7                                                         Counsel for Defendant
                                                           JAVIER ALONSO BELTRAN
 8                                                         (authorized by email on January
                                                           10, 2019)
 9
10

11

12                                        FINDINGS AND ORDER

13         So found.

14
     IT IS SO ORDERED.
15

16     Dated:     January 10, 2019                         /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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      STIPULATION TO CONTINUE SENTENCING HEARING       3
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